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      Attorneys for Plaintiff,
  6   VAZGEN KHACHATRYAN
  7                       UNITED STATES BANKRUPTCY COURT
  8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
      In re:                                    )   Bankruptcy No. 1:15-bk-11139-MB
 10                                             )
      SHAHEN MARTIROSIAN                        )   EMERGENCY MOTION
 11                                             )
                                                )   ADVERSARY NO. 16-AP-01091
 12                                             )
                                                )   PLAINTIFF'S EMERGENCY MOTION
 13                                             )   FOR A TEMPORARY RESTRAINING
                                                )   ORDER PREVENTING DEFENDANT
 14                                             )
                                                )   CITY NATIONAL FINANCE FROM
                                                )   FORECLOSING ON PROPERTY
 15
                                                )   COMMONLY KNOWN AS 4705
 16                                             )   EXCELENTE, WOODLAND HILLS,
                                                )   CALIFORNIA; DECLARATION OF
 17                                             )   ALANA ANAYA, DECLARATION OF
                                                )   VAZGEN KHACHATRYAN
 18                                             )
                                                )
 19                                             )
      __________________________________        )
 20                                             )   EMERGENCY MOTION FOR TRO
      VAZGEN KHACHATRYAN                        )   DATE:
 21                                             )   TIME:
                 Plaintiff,                     )
      vs.                                       )   COURTROOM: 303
 22
      SHAHEN MARTIROSIAN; CPI REAL)
 23   ESTATE GROUP, INC., doing business as)
      REALTY       EXECUTIVES       PREMIERE)
 24   ESCROW          DIVISION;      VIRGINIA)
      MARTIROSIAN;                     ANAHIT)
 25   HARUTYUNYAN; 4705 EXCELENTE)
      INC.,    a California corporation; CITY)
 26   NATIONAL FINANCE, a business entity)
      form unknown and DOES 1 to 100 inclusive, )
 27          Defendants

 28


                                                                                        1
                PLAINTIFF’S EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                                 1.     INTRODUCTION
  1

  2          The debtor/defendant and other defendants have concocted a scheme to defraud this
  3   Court and the debtor’s creditors by (a) fraudulently transferring title to real property
  4   commonly known as 4705 Excelente, Woodland Hills, California (the “Property”) to a straw
  5   owner approximately 7 months ago for one third of the property's value without any monies
  6   being paid by the buyer (Defendant Anahit Harutunyan), (b) encumbering the Property with a
  7   bogus first lien (Defendant City National Finance) and (c) scheduling a foreclosure sale on the
  8   Property to occur on December 28, 2016 (the “Foreclosure Sale”). That this scheme is
  9   fraudulent and illegal which is manifested by the following undisputed facts:
 10                1. At the debtor’s deposition on December 20, 2016, the debtor refused to answer
 11                   any questions about the Property or the Foreclosure Sale, instead asserting his
                      right under the Fifth Amendment against self-incrimination.
 12
                   2. On December 19, 2017, the debtor refused to produce documents related to the
 13                   Property and the Foreclosure Sale pursuant to a validly issued subpoena, again
                      objecting based on his Fifth Amendment right against self-incrimination.
 14
                   3. The debtor told Plaintiff that the Property had been fraudulently transferred to
 15
                      put the Property beyond the reach of the debtor’s creditors.
 16
                   4. Despite the purported sale of the Property to Anahit Harutunyan (the straw
 17                   buyer), the debtor and his family reside in the Property. See Transcript of
                      Deposition of SHAHEN MARTIROSIAN (“Transcript”) at pages 9-10.
 18
                   5. The purported holder of the first lien deed of trust on the Property – City
 19                   National Finance – has not registered to do business in the State of California
                      and does not hold a California lender’s license.
 20

 21          If the Foreclosure Sale is allowed to proceed, the plaintiff and the debtor’s other
 22   creditors will be irreparably harmed. Accordingly, Plaintiff respectfully requests this Court to
 23   enter an order enjoining this Foreclosure Sale resulting from two fraudulent transfers and
 24   sham sale.
 25                          2. FACTUAL BACKGROUND
             A. THE THEFT OF $350,000.00 BY DEFENDANT SHAHEN MARTIROSIAN.
 26
             The Debtor fraudulently induced Plaintiff to give $350,000 for the purchase of a home,
 27
      and then stole that money from Plaintiff. The Debtor blatantly used this money to pay for his
 28


                                                                                                         4
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  1   luxurious lifestyle including but not limited to luxury cars for himself and his wife co-defendant

  2   Virginia Matirosian, pay his personal mortgage for his upscale home worth $1.8 million dollars,

  3   and for his personal entertainment which multiple subpoenas and discovery have revealed a

  4   serious ongoing gambling habit. This business was finally shut down by the Bureau of Real

  5   Estate.

  6             That the Debtor engaged in criminal and fraudulent activity is reflected in his

  7   unwillingness to testify at his deposition about his relationship with Plaintiff. For example, the

  8   Debtor claimed a Fifth Amendment protection against self-incrimination and refused to answer

  9   the following questions at his deposition held on December 20, 2016 (see Declaration of Alana

 10   Anaya):

 11
                   When they met. Transcript at 15.
 12
                   Where they met. Id.
 13                Whether Debtor described himself as a real estate investor. Transcript at 16.
                   Any other details about conversations or offers of investment, including whether
 14                 Debtor showed the Plaintiff any investment properties. Id.
 15   The transcript is replete with dozens of similar answers. See Transcript pages [18-27].
 16             Notably, the Defendant also refused to testify whether he used Plaintiff’s money to pay
 17   the mortgage on the Property. See Transcript at 27, lines 21-23. .
 18             Defendants are nothing short of scam artists who have conspired together to keep 4705
 19   Excelente, Woodland Hills, California (“The Property”) out of the hands of Creditors. This is
 20   also nothing short of an elaborate ruse. This certainly is not the first time. Defendant
 21   SHAHEN MARTIROSIAN, a former real estate broker and escrow company/real estate
 22   company owner, has a lengthy history of taking other peoples’ money that are earmarked for
 23   real property transactions and using those funds for his personal use. Previously, Defendant
 24   SHAHEN MARTIROSIAN has deeded the subject property at issue to his wife in an attempt
 25   to keep the property out of the reach of creditors. Defendant SHAHEN MARTIROSIAN and
 26   his wife VIRGINIA MARTIROSIAN were sued for fraudulent transfer relating to the
 27   Property. (See. LASC Case No. LC101698).
 28


                                                                                                       5
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              B.        THE DEBTOR FRAUDULENTLY TRANSFERRED THE PROPERTY
  1                     BEYOND THE REACH OF CREDITORS WITH A SHAM SALE AND
  2                                         MORTGAGE
             In order to protect The Property from creditors, the Defendants orchestrated a sham
  3
      sale for an alleged $600,000.00 for a property valued at $1,800,000.00 or greater. The
  4
      purported owner of the property is ANAHIT HARUTNYAN.                      See Transcript at 15.
  5
      However, Haruntunyan does not live at the Property and never lived at the Property. Instead,
  6
      the Debtor admittedly prepared a sham lease and claims he is paying $2200 per month in
  7
      “rent,” while Harutunyan’s monthly mortgage payment is $6843 – with no explanation as to
  8
      why Harutunyan would rent a house she recently acquired for a monthly loss of more than
  9
      $4600 plus insurance, property taxes etc. Transcript at 58-59. However the Debtor is
 10
      unaware of his making any actual rent payments within the last sixth months . Transcript at
 11
      61. Moreover, although he currently lives at the Property, the Debtor testified that he has
 12
      never talked with Harutunyan, the purported owner. Transcript at 19. The evidence shows
 13
      that the Debtor’s wife has had access to Harutunyan's bank account and has made mortgage
 14
      payments on behalf of Harutunyan. Transcript at 77-78. This is hardly an arm's length
 15
      transaction.
 16
             The Debtor refused to answer questions about his relationship with Harutunyan,
 17
      claiming his Fifth Amendment Privilege against self incrimination. For example:
 18

 19
                  Claimed Fifth Amendment protection and refused to describe how he and
 20                Harutunyan met. Transcript at 15.

 21               While the debtor admitted sharing the same attorney, Jilbert Tahmazian, for the
 22                defense in this matter which is highly unusual if their defense is to be believed but
                   he claimed a Fifth Amendment protection and refused to testify whether he is
 23                paying Harutunyan’s legal fees. Transcript pg 17, lines 15-20, pg 18 lines 3-12

 24                 Refused to describe how they met. See Transcript at 15.

 25          Last, the Debtor/Defendant refused to produce documents demonstrating the

 26   legitimacy of the sale to Harutunyan despite a valid document request so requesting. See

 27   Document Request attached to Notice of Deposition and Defendant's Objections attached to

 28   the Declaration of Alana Anaya.



                                                                                                           6
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  1          In furtherance of the fraudulent transfer, a Deed of trust was recorded by Defendant

  2   City National Finance, which conducted no underwriting for the alleged loans and produced

  3   only a loan application in response to discovery.      See Harutyunyan's loan application with

  4   Defendant City National Finance attached to the Declaration of Alana Anaya
            C.      THE SHAM FORECLOSURE SALE IS SET FOR DECEMBER 28, 2016
  5
             The sham foreclosure sale is set for December 28, 2016, a restraining order is needed
  6
      in order to preserve the status quo and to prevent irreparable injury to the Plaintiff.
  7                D.     THE DEBTOR HID BEHIND THE FIFTH AMENDMENT AND
  8                    REFUSED TO ANSWER QUESTIONS OR PRODUCE DOCUMENTS
                                            RELATED TO THE PROPERTY
  9
             The Defendant Shahen Matirosian's Deposition was taken on December 20, 2016. A
 10
      rough transcript was requested and portions of which are attached hereto the Declaration of
 11
      Alana Anaya as Exhibit N.         Additionally, the Defendant’s objection to the document
 12
      production on 5th amendment grounds is attached as Exhibit “M”
 13                                           II. ARGUMENT
                    1.     PLAINTIFF HAS MET HIS BURDEN IN DEMONSTRATING
 14                        IRREPARABLE HARM AND SUCCESS ON THE MERITS
                           WHICH WARRANT A TEMPORARY RESTRAINING ORDER
 15
                           TO MAINTAIN THE STATUS QUO
 16
             Federal Rule of Civil Procedure 65(b), made applicable to this proceeding by
 17
      Bankruptcy Rule 7065, provides that the Court may issue a temporary restraining order
 18
      without written or oral notice to the adverse party or its attorney if specific facts show that
 19
      immediate and irreparable injury, loss or damage will result before the adverse party can be
 20
      heard in opposition. Fed. R. Civ. P. 65(b). This Court also has the power pursuant to Section
 21
      105(a) of the Bankruptcy Code to “issue any order, process, or judgment that is necessary or
 22
      appropriate to carry out the provisions of [the Bankruptcy Code].” See 11 U.S.C. § 105(a). Its
 23
      sole purpose is to preserve the status quo pending hearing on the moving party's application
 24
      for a preliminary injunction. Granny Goose Foods, Inc. v. Brotherhood of Teamsters & Auto
 25
      Truck Drivers (1974) 415 US 423, 439, 94 S.Ct. 1113, 1124; Hoechst Diafoil Co. v. Nan Ya
 26
      Plastics Corp. (4th Cir. 1999) 174 F3d 411, 422; Garcia v. Yonkers School Dist. (2nd Cir.
 27
      2009) 561 F3d 97, 107.
 28


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  1           An injunction is an equitable remedy. “The basis for injunctive relief (preliminary or

  2   permanent) in the federal courts has always been irreparable injury and the inadequacy of

  3   legal remedies.” Weinberger v. Romero-Barcelo (1982) 456 US 305, 312, 102 S.Ct. 1798,

  4   1803 (emphasis and parentheses added); Stanley v. University of Southern Calif. (9th Cir.

  5   1994) 13 F3d 1313, 1320.

  6
              A plaintiff seeking a preliminary injunction “must establish”: 1) “that he is likely to
  7
      succeed on the merits”; 2) “that he is likely to suffer irreparable harm in the absence of
  8
      preliminary relief”; 3) “that the balance of equities tips in his favor”; and 4) “that an
  9
      injunction is in the public interest.” Winter v. Natural Resources Defense Council, Inc. (2008)
 10
      555 US 7, 20, 129 S.Ct. 365, 374 (emphasis added)
 11

 12           “In each case, a court must balance the competing claims of injury and must consider

 13   the effect on each party of the granting or withholding of the requested relief.” Amoco

 14   Production Co. v. Village of Gambell, Alaska (1987) 480 US 531, 542, 107 S.Ct. 1396, 1402

 15   (emphasis added); Dogloo, Inc. v. Doskocil Mfg. Co., Inc. (CD CA 1995) 893 F.Supp. 911,

 16   917 (citing text).

 17
              In this case, the factors weigh heavily in favor of a temporary restraining order.
 18

 19           Plaintiff has filed a complaint for Breach of Fiduciary duty, Conversion, Fraudulent

 20   Transfer, Cancelation of Instrument and fraud.
                A.     THE CAUSES OF ACTION FOR BREACH OF FIDUCIARY DUTY,
 21                                         CONVERSION AND FRAUD
 22                I. THE FACTS APPLICABLE TO BREACH OF FIDUCIARY DUTY,
                                        CONVERSION AND FRAUD
 23
          In June 2014, SHAHEN MATIROSIAN represented to Plaintiff that he is a professional
 24
      real estate broker and owner of Realty Executive Premiere. MATIROSIAN further
 25

 26   represented to Plaintiff that he had a property in Chatsworth, California that he could facilitate

 27   for Plaintiff to purchase for $350,000.00. In further of the representation, MATIROSIAN,

 28   presented Plaintiff with a purchase contract for 10000 Lubao Avenue, Chatsworth, California


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      and requested that Plaintiff provide REALTY EXECUTIVES PREMIERE ESCROW
  1

  2   division his purchase monies to be deposited into SHAHEN MATIROSIAN's escrow account

  3   for the exclusive purpose of purchasing the property.

  4
         In October 2014 and November 2014, Plaintiff provided checks and wired funds in the
  5

  6   total sum of $350,500.00 payable to the order of Realty Executives Premiere and delivered to

  7   SHAHEN MATIROSIAN. At the time, SHAHEN MATIROSIAN fully convinced Plaintiff

  8   by making intentional false representations that Realty Executives Premiere Escrow Division
  9   was a legitimate escrow owned by SHAHEN MATIROSIAN to assist facilitate Plaintiff's
 10
      purchase of the Chatsworth property.
 11

 12      Fully believing that there was in fact a real estate purchase transaction pending, Plaintiff
 13   signed the purchase agreement for the 10000 Lubao Avenue property and gave his
 14
      $350,500.00 for the purchase of Lubao to SHAHEN MATIROSIAN to place in escrow and a
 15
      deposit to purchase another real property commonly described as 1437 Highland, Glendale,
 16
      CA 91202.
 17

 18
         At all times herein, there were never any real transactions occurring. It was all a
 19
      preconceived scam by SHAHEN MATIROSIAN to steal Plaintiff's money. SHAHEN
 20
      MATIROSIAN absconded with $350,500.00, of Plaintiff’s funds which have yet to be repaid.
 21
                                          II. Breach of Fiduciary Duty
 22
             To establish a cause of action for breach of fiduciary duty, a plaintiff must demonstrate
 23
      the existence of a fiduciary duty, breach of that duty, proximate causation, and resulting
 24
      damages. (Benasra v. Mitchell Silberberg Knapp LLP, 123 Cal.App.4th 1179, 1183 (2004);
 25
      Pierce v. Lyman, 1 Cal.App.4th 1093, 1101 (1991)).
 26

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  1          The fiduciary duties of a real estate agent include the duties to obey the instructions of

  2   the client, and to provide diligent and faithful service. (Thomson v. Canyon (2011) 198

  3   Cal.App.4th 594, 607 [129 Cal.Rptr.3d 525].)

  4
             In this case, SHAHEN MATIROSIAN claimed to be acting as an escrow agent for
  5
      the Plaintiff and thus owed Plaintiff a fiduciary duty. SHAHEN MATIROSIAN then
  6
      breached that duty by absconded with $350,500.00, of Plaintiff’s funds. As a direct result,
  7
      Plaintiff was injured by the loss of his funds which have not been returned to him.
  8
                                                 III.     Conversion
  9                          “Conversion is the wrongful exercise of dominion over the property of
 10                          another. The elements of a conversion claim are: (1) the plaintiff's
                             ownership or right to possession of the property; (2) the defendant's
 11                          conversion by a wrongful act or disposition of property rights; and (3)
                             damages. Conversion is a strict liability tort. The foundation of the
 12                          action rests neither in the knowledge nor the intent of the defendant.
                             Instead, the tort consists in the breach of an absolute duty; the act of
 13
                             conversion itself is tortious. Therefore, questions of the defendant's
 14                          good faith, lack of knowledge, and motive are ordinarily immaterial. (
                             Moore v. Regents of University of California (1990) 51 Cal.3d 120, 144
 15                          [271 Cal.Rptr. 146, 793 P.2d 479], and fn. 38; Oakdale Village Group
                             v. Fong (1996) 43 Cal.App.4th 539, 543-544 [50 Cal.Rptr.2d 810].)”
 16                          Burlesci v. Petersen 68 Cal.App.4th 1062,1065 (Cal.App.4.Dist.1998)
                             Emphasis Added
 17
             “The general rule is that ”[t]he foundation for the action of conversion rests neither in
 18
      the knowledge nor the intent of the defendant. It rests upon the unwarranted interference by
 19
      defendant with the dominion over the property of the plaintiff from which injury to the latter
 20
      results. Therefore, neither good nor bad faith, neither care nor negligence, neither knowledge
 21
      nor ignorance, are the gist of the action.“” ].)” Burlesci v. Petersen 68 Cal.App.4th 1062,
 22
      1065 (Cal.App.4.Dist.1998).
 23
              Conversion is a species of strict liability in which questions of good faith, lack of
 24
      knowledge and motive are ordinarily immaterial. City of Los Angeles v. Superior Court 85
 25
      Cal.App.3d 143, 149, 149 Cal.Rptr. 320, 323 (Cal.App.,1978).
 26
             In this case, Defendant SHAHEN MATIROSIAN absconded with $270,000.00, and
 27
      refused to return the funds upon demand. Therefore, Defendant SHAHEN MATIROSIAN is
 28


                                                                                                       10
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  1   liable for conversion and Plaintiff has established a reasonable probability for success on the

  2   merits.
                                                    IV.     Fraud
  3
                The elements of a cause of action for damages for fraud and deceit are: (1)
  4

  5   Representation; (2) falsity; (3) knowledge of falsity; (4) intent to deceive; (5) reliance and

  6   resulting damage (causation). Lesperance v. N. Am. Aviation, Inc., 217 Cal. App. 2d 336, 345,
  7   31 Cal. Rptr. 873, 878 (Ct. App. 1963).
  8
                In this case, Defendant SHAHEN MATIROSIAN fabricated a real estate transaction
  9
      in order to obtain funds from the Plaintiff. Plaintiff relied on these representations and
 10
      entrusted Defendant SHAHEN MATIROSIAN with the funds and then absconded with
 11
      $270,000.00 of Plaintiff's funds. Therefore, Plaintiff has established a reasonable probability
 12
      for success on the merits.
 13
                When Defendant SHAHEN MATIROSIAN was asked about the Lubao and Highland
 14
      transactions, Defendant SHAHEN MATIROSIAN plead the fifth amendment. See Transcript
 15
      pages 19-28. The inference that can be drawn from pleading the fifth is that Defendant
 16
      SHAHEN MATIROSIAN does not dispute plaintiff’s contentions regarding the sham
 17
      transactions which were used by SHAHEN MATIROSIAN to fraudulently obtain the sum of
 18
      $370,000.00, from the Plaintiff.
 19
            B.      THE CAUSES OF ACTION FOR FRAUDULENT TRANSFER AND
 20                 CANCELATION OF INSTRUMENT
                                       I. Fraudulent Transfer
 21
                “The UFTA permits defrauded creditors to reach property in the hands of a
 22
      transferee.” Mejia v. Reed (2003) 31 Cal.4th 657, 663 [3 Cal.Rptr.3d 390, 74 P.3d 166].)
 23
                Civil Code section 3439.05 provides: “A transfer made or obligation incurred by a
 24
      debtor is fraudulent as to a creditor whose claim arose before the transfer was made or the
 25
      obligation was incurred if the debtor made the transfer or incurred the obligation without
 26
      receiving a reasonably equivalent value in exchange for the transfer or obligation and the
 27
      debtor was insolvent at that time or the debtor became insolvent as a result of the transfer or
 28


                                                                                                        11
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  1   obligation.”

  2                  Civil Code section 3439.01(b) provides: “ ‘Claim’ means a right to payment,

  3   whether or not the right is reduced to judgment, liquidated, unliquidated, fixed, contingent,

  4   matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.”

  5
                     The transfer is also fraudulent under California Civil Code Section 3439.04
  6

  7                  which provides:

  8                  (a) A transfer made or obligation incurred by a debtor is
                     fraudulent as to a creditor, whether the creditor's claim arose
  9                  before or after the transfer was made or the obligation was
                     incurred, if the debtor made the transfer or incurred the
 10
                     obligation as follows:
 11                  (1) With actual intent to hinder, delay, or defraud any creditor
                     of the debtor.
 12                  (2) Without receiving a reasonably equivalent value in
                     exchange for the transfer or obligation, and the debtor either:
 13                  (A) Was engaged or was about to engage in a business or a
                     transaction for which the remaining assets of the debtor were
 14
                     unreasonably small in relation to the business or transaction.
 15                  (B) Intended to incur, or believed or reasonably should have
                     believed that he or she would incur, debts beyond his or her
 16                  ability to pay as they became due.
 17                  (b) In determining actual intent under paragraph (1) of
                     subdivision (a), consideration may be given, among other
 18
                     factors, to any or all of the following:
 19                  (1) Whether the transfer or obligation was to an insider.
                     (2) Whether the debtor retained possession or control of the
 20                  property transferred after the transfer.
                     (3) Whether the transfer or obligation was disclosed or
 21                  concealed.
 22                  (4) Whether before the transfer was made or obligation was
                     incurred, the debtor had been sued or threatened with suit.
 23                  (5) Whether the transfer was of substantially all the debtor's
                     assets.
 24                  (6) Whether the debtor absconded.
                     (7) Whether the debtor removed or concealed assets.
 25                  (8) Whether the value of the consideration received by the
 26                  debtor was reasonably equivalent to the value of the asset
                     transferred or the amount of the obligation incurred.
 27                  (9) Whether the debtor was insolvent or became insolvent
                     shortly after the transfer was made or the obligation was
 28                  incurred.


                                                                                                      12
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                      (10) Whether the transfer occurred shortly before or shortly
  1                   after a substantial debt was incurred.
  2                   (11) Whether the debtor transferred the essential assets of the
                      business to a lienholder who transferred the assets to an insider
  3                   of the debtor.

  4
              “In order to constitute intent to defraud, it is not necessary that the transferor act
  5
      maliciously with the desire of causing harm to one or more creditors.” Economy Refining &
  6

  7   Service Co. v. Royal Nat’l Bank (1971) 20 Cal.App.3d 434, 441 [97 Cal.Rptr. 706].. “A

  8   fraudulent conveyance under the UFTA involves ‘a transfer by the debtor of property to a

  9   third person undertaken with the intent to prevent a creditor from reaching that interest to
 10
      satisfy its claim.’ ‘A transfer made . . . by a debtor is fraudulent as to a creditor, whether the
 11
      creditor’s claim arose before or after the transfer was made, if the debtor made the transfer as
 12
      follows: [¶] (1) With actual intent to hinder, delay, or defraud any creditor of the debtor.’ ”
 13
      Filip v. Bucurenciu (2005) 129 Cal.App.4th 825, 829 [28 Cal.Rptr.3d 884], internal citations
 14

 15   omitted. “[The factors in Civil Code section 3439.04(b)] do not create a mathematical

 16   formula to establish actual intent. There is no minimum number of factors that must be
 17   present before the scales tip in favor of finding of actual intent to defraud. This list of factors
 18
      is meant to provide guidance to the trial court, not compel a finding one way or the other.”
 19
      (Filip, supra, 129 Cal.App.4th at p. 834.).
 20

 21           In this case, the transfer of the Excellent property was fraudulent. First, Defendant
 22
      SHAHEN MATIROSIAN transferred the property to his wife for no consideration. See
 23
      Declaration of Alana Anaya Ex O. VIRGINIA MARTIROSIAN then transferred the
 24
      property to ANAHIT HARUTUNYAN in a sham transaction.
 25

 26           The evidence produced by the Defendants provide convincing evidence that this
 27
      transaction is a sham.
 28


                                                                                                           13
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             First, The Defendants contend that ANAHIT HARUTUNYAN purchased the
  1

  2   property as an arm’s length transaction for a monthly mortgage payment of $6,843.30

  3   and then agreed to lease the property to VIRGINIA MARTIROSIAN for only $2,200.00

  4   per month. If Defendant HARUTUNYAN purchased the property for full value it does
  5
      not make sense as to why she would lease the property at a minimum of a $5,000.00 loss
  6
      each month. See transcript at pgs 53-58. The lease payment clearly would not cover the
  7
      monthly payments, or any property taxes, or insurance. It has been discovered that
  8
      HARUTUNYAN lives in a small rental apartment in Hollywood, has no income or assets and
  9

 10   has no ability to pay for the mortgage herself. She is the hand selected straw buyer of the

 11   Defendant to pull of this scam. The escrow documents reveal that she paid not a single dollar
 12   for the purchase, no down payment, not a single dollar associated with the entire transaction.
 13
      That clearly is a red flag revealing fraud.
 14

 15          Second, the purchase contract required Defendant ANAHIT HARUTUNYAN to place

 16   a $200,000.00 deposit in escrow. However, the HUD-1 shows that no deposit was ever made
 17
      and that the Defendant "lender" paid for the costs of the entire transaction. Neither Defendant
 18
      ANAHIT HARUTUNYAN nor Defendants MATIROSIAN paid any costs out of pocket or
 19
      deposited any funds in connection with the purported sale.
 20

 21          Third, Defendant SHAHEN MATIROSIAN claimed that there was a slab issue with
 22
      the property, but without the slab issue the property would have been worth 1.7 million. He
 23
      then testified that the property is now being listed for sale for 1.89, demonstrating that the
 24
      “slab” issue was a fabrication in an attempt to justify the obscenely low “sales” price. See
 25

 26   Transcript page 35.

 27

 28


                                                                                                       14
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             The evidence from both the Wells Fargo subpoena on HARUTUNYAN's account and
  1

  2   Defendant City National demonstrate the fraudulent transfer to be a sham.

  3
             First, the only document produced by City National is a loan application from
  4
      HARUTUNYAN which contains no information. The lack of underwriting, or funding
  5

  6   documentation from a "unrelated lender” demonstrates no underwriting at all. This is

  7   consistent with a loan being a sham in order to allow the Defendants to cash out of the

  8   property without having restore the money taken by them. The grand Matirosian plan was to
  9   remove title from the Matirosian family to a third party (HARUTUNYAN) and if that didnt
 10
      work to drive away creditors, the Plan B was to proceed with a sham foreclosure for a last
 11
      opportunity to cash out. The 6 month loan at the usurious 12.5% is to facilitate Plan B. This
 12
      hard money expensive loan that paid for the entire purchase without a penny down or any
 13

 14   underwriting his highly suspicious and in line with the defendants' transparent plan.

 15
             Second, City National contacted the Plaintiff directly at 11:00 p.m. on December 13,
 16
      2016, urging him to accept less than full payment of the funds owed to him and made false
 17

 18   representations of the status of escrow. This conduct is contrary to that of a legitimate lender

 19   and clearly shows that City National is either aiding and abetting or has conspired with the

 20   other Defendants in a scheme to allow them to pull all of the equity out of the property and
 21   bypass the claims of the Plaintiff in this matter.
 22

 23          Third, the subpoenaed documents from Wells Fargo as well as documents obtained

 24   from counsel for the Defendants demonstrate further fraudulent intent. First, the accounts
 25   show that 4705 Excelente, Inc and the MARTIROSIANs utilize the same property address at
 26
      issue for bank statements, utilities, property tax statements etc. Second, despite the sale, the
 27
      MARTIROSIANS have admittedly continued to occupy the property without disruption and
 28


                                                                                                         15
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      have tried to sell the property for $1,800,000.00. Third, despite the claim of the arms length
  1

  2   transaction, the bank records from Wells Fargo reveal that the MARTIROSIANS have been

  3   obtaining cashier's check from the account of HARTUNUYAN to make the payments on the

  4   purported loan. The banking records also demonstrate that the account for 4705 Excelente, Inc
  5
      are for charges for personal expenses and gambling. When asked about gambling, Defendant
  6
      SHAHEN MATIROSIAN plead the fifth. Transcript page 27. However, the records
  7
      attached from the casinos corroborates the contention that SHAHEN MATIROSIAN was
  8
      using the account of this allegedly unrelated LLC for his own personal usage.
  9

 10
              Fourth, the loan went into "default" in less than a year. Fourth, the property was sold
 11
      significantly below market value. In fact, it was sold for 1/3 of its fair market value. Fifth, the
 12
      account statements for 4705 EXCELENTE Inc demonstrate use by the MARTIROSIANS for
 13

 14   purchases and services in the area where they live, withdrawals and deposits in a branch

 15   nearby the subject property as well as withdrawals for gambling from the alleged corporate

 16   account. This sloppiness of the defendants allows plaintiff to demonstrate to this court that
 17
      the whole sale to HARTUNYAN for $600,000.00 and pending foreclosure is all part of their
 18
      intended fraudulent scheme. Therefore, Plaintiff has demonstrated that he is likely to prevail
 19
      on the fraudulent transfer cause of action.
 20
                                     II. CANCELATION OF INSTRUMENT
 21
              A written instrument, in respect to which there is a reasonable apprehension that if left
 22
      outstanding it may cause serious injury to a person against whom it is void or voidable, may,
 23
      upon his application, be so adjudged, and ordered to be delivered up or canceled. Civ. Code, §
 24
      3412.
 25
              As the transaction was a fraudulent transfer designed to prevent Plaintiff from
 26
      attaching the only asset of the Defendants. Plaintiff is entitled to cancellation of the Deeds
 27
      attached to the request for judicial notice.
 28


                                                                                                       16
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              III.     THE COURT MAY DRAW AN INFERANCE BY THE ASSERTION OF
  1                        THE 5TH AMENDMENT BY SHAHEN MATIROSIAN
  2      Unlike criminal cases, adverse inferences may be drawn in a civil case from a person's
  3   invocation of the privilege against self-incrimination. Baxter v. Palmigiano (1976) 425 US
  4   308, 318, 96 S.Ct. 1551, 1558—Fifth Amendment does not forbid adverse inferences against
  5   parties to civil action when they refuse to testify in response to probative evidence offered
  6   against them; Curtis v. M & S Petroleum, Inc. (5th Cir. 1999) 174 F3d 661, 675—adverse
  7   inference may be taken from corporate representative's invocation of Fifth Amendment
  8   privilege; Gutierrez v. Holder (9th Cir. 2011) 662 F3d 1083, 1091—adverse inferences
  9   permitted in deportation hearing].
 10
         An adverse inference may even be drawn from a nonparty's invocation of the Fifth
 11
      Amendment privilege. FDIC v. Fidelity & Deposit Co. of Maryland (5th Cir. 1995) 45 F3d
 12
      969, 977; LiButti v. United States (2nd Cir. 1997) 107 F3d 110, 121—in action for wrongful
 13
      levy against IRS, adverse inference drawn against daughter from father's invocation of
 14
      privilege; In re High Fructose Corn Syrup Antitrust Litig. (7th Cir. 2002) 295 F3d 651, 663-
 15
      664—evidence of corporate officers' refusal to answer questions about antitrust conspiracy
 16
      could be used to establish existence of conspiracy by employer-manufacturer, but not other
 17
      manufacturers.
 18

 19      In this case, as outlined above, Defendant SHAHEN MATIROSIAN asserted the 5th
 20   amendment privilege as to all items concerning his real estate activity, sham sales to lure
 21   innocent victims to deposit funds in an escrow account controlled by him, his usage of those
 22   funds for his own personal gain and his gambling activities. Taken in conjunction with the
 23   corroborating evidence above. The court may make a negative inference regarding the
 24   transfer and the loan.
 25

 26

 27

 28


                                                                                                      17
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                  D. PLAINTIFF WILL SUFFER IRREPARABLE HARM IF THE
  1           FORECLOSURE SALE IS ALLOWED TO PROCEED AND THE BALANCE
  2                    OF EQUITIES ARE IN FAVOR OF THE PLAINTIFF
             As this subject property is the only asset of the Defendants. Plaintiff will not be able
  3
      to recover when judgment is entered in his favor. Plaintiff will also be harmed as he will no
  4
      longer be able to prosecute the fraudulent transfer action.
  5

  6          The balance of equities favor the Plaintiff as the Defendant will suffer no harm from
  7   the granting of the motion. The property contains enough equity to more than compensate
  8   Defendant City National for any delay.
  9
             E.       AN INJUNCTION IS IN THE PUBLIC INTEREST
 10
             The Defendants did not just defraud Plaintiff, it has also defrauded the Court (there
 11
      are also other adversary actions pending naming these defendants), and has abused and
 12
      subverted the protections of the Bankruptcy Code. For the Defendants to use a sham
 13
      foreclosure sale to receive the proceeds of its fraud (for the second time) represents the
 14
      culmination of its fraud. Additionally, should Plaintiff prevail in the action for fraudulent
 15
      transfer, the property would be an asset of the bankruptcy estate and could be sold to the
 16
      benefit of creditors. The public interest requires that the Court enter a preliminary injunction
 17
      to prevent that from happening. See NCR Corp., 1993 U.S. App. LEXIS 1402, at *6-7 (“the
 18
      public interest would be served by issuing the injunction, as the injunction is necessary to
 19
      prevent multi-state fraudulent schemes and to prevent the deprivation of remedies to NCR”);
 20
      In re Infinity Bus. Group, Inc., 2012 Bankr. LEXIS 5287, at *14 (Bankr. D.S.C. June 1, 2012)
 21
      (“the egregious nature of the alleged defalcations against the Debtor and the effect of those
 22
      wrongs on the public interest also convince the Court that issuance of a preliminary injunction
 23
      in these circumstances is the proper course to allow the Trustee the opportunity to vindicate
 24
      these alleged wrongs”); Dillworth , 2011 Bankr. LEXIS 1846, at *6-7 (“A preliminary
 25
      injunction does not prevent the business of ServerPronto.com from proceeding. It does not
 26
      stop the Internet Services that are being supplied to the public. It merely prevents the
 27
      continuing transfers and diversion of the Debtors’ assets to Leary and other Primary
 28


                                                                                                        18
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  1   Defendants offshore, and preserves them for the benefit of Debtors’ creditors and

  2   shareholders. A preliminary injunction is clearly in the public interest.”).

  3          F.      F. THE COURT SHOULD EXCUSE PLAINTIFF FROM POSTING
                     ANY SECURITY UNDER RULE 65(c)
  4

  5          As set forth above, Defendants cannot suffer any appreciable harm from the requested

  6   injunctive relief which seeks to preserve the status quo with the possibility of benefiting the

  7   estate as a whole. If, however, the Court requires some security, then Plaintiff requests that
  8
      the Court require security in a nominal amount.
  9
                                                  3.     CONCLUSION
 10
               Given the overwhelming facts and evidence in this matter, the attempt of Defendant
 11
      City National Finance to foreclose on the subject property on December 28, 2016 should be
 12
      prevented to maintain the status quo in this matter and prevent the Defendants from carrying
 13
      out their ill conceived scheme to default creditors and cash out.
 14

 15   Dated: 12-22-16                                       Anaya Law Group
                                                           By__/s/Alana B. Anaya ___
 16                                                         Alana B. Anaya
                                                            Attorneys for the Plaintiff
 17

 18

 19

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  1                                  DECLARATION OF ALANA ANAYA
  2           I, ALANA B. ANAYA, do declare and state as follows:
  3          1.      I am an attorney at law, duly license to practice law in all courts in the State of
  4   California. I have personal knowledge of the facts stated herein, if called upon, I could and
  5   would testify competently thereto.
  6          1.       Attached hereto as Exhibit “A” is a copy of the Accusation of Defendant
  7   SHAHEN MARTIROSIAN, who surrendered his license before a trial on the
  8   accusation.
  9          2.      Defendants MARTIROSIAN claimed to have received an offer from
 10   Defendant HARUTUNYAN dated May 7, 2015, which requires Defendant HARUTUNYAN
 11   to place a $200,000.00 deposit for the property. Defendant HARUTUNYAN never paid the
 12   deposit and the HUD-1 for the sale shows that neither Defendants MARTIROSIAN or
 13   HARUTUNYAN paid for a single item related to the purported sale. A true and correct copy
 14   of the HUD-1, portions of Defendant SHAHEN MARTIROSIAN’s Deposition and portions
 15   of the sales contract are attached hereto as Exhibit “B”
 16          3.      On July 24, 2015, and again on August 12, 2015, Defendant City National
 17   Finance recorded two deeds of trust which both list the Beneficiary as “City National
 18   Finance” with no indication as to the form of entity or where it was incorporated.
 19   Additionally, the information at the top left of the Deed of trust simply indicates “City
 20   National Finance P.O. Box 4192, Glendale, CA 91222”. True and Correct copies of the Deeds
 21   of trust are attached hereto as Exhibit “C”.
 22          4.      The secured mortgage loan statement provided by counsel for
 23   HARUTUNYAN sets forth that the monthly payment due is $6,843.31. However Defendant
 24   MARTIROSIAN (which admittedly prepared the lease) claims that he agreed to rent the
 25   property for $2,200.00, per month. A true and correct copy of the lease and the mortgage loan
 26   statement provided by counsel for Defendants MARTIROSIAN and HARUTUNYAN are
 27   attached hereto as Exhibit “D.”
 28          5.      My office propounded discovery on City National Finance and the only


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  1   document produced was an incomplete loan application. Defendant City National Finance

  2   clearly did no underwriting for this alleged loan. A true and correct copy of the discovery and

  3   responses thereto are attached hereto as Exhibit “E”.

  4          6.         I also issued a subpoena to Wells Fargo regarding the applications for the bank

  5   accounts for VIRGINIA MARTIROSIAN and 4705 EXCELENTE, INC.. Both accounts list

  6   the 4705 Excelente Dr. as the address of record for both accounts, and were opened at the

  7   same branch close to the property by the same employee of Wells Fargo. Additionally, the

  8   banking statements for 4705 EXCELENTE, INC. demonstrate that the account for the

  9   corporation is being used to make personal expenditures and for gambling. A true and correct

 10   Copy of the account applications and bank statements are attached hereto as Exhibit “F”. The

 11   gambling charged match up with casinos frequented by SHAHEN MARTIROSIAN. A true

 12   and correct copy of records from the casinos are attached hereto as Exhibit “G”

 13          7.         Defendants VIRGINIA MARTIROSIAN and ANAHIT HARUTUNYAN

 14   appear on the payments to City National Finance. True and correct copies of the checks

 15   provided by counsel for Defendants MARTIROSIAN are attached hereto as Exhibit “H”.

 16          8.         During the Deposition of Defendant SHAHEN MARTIROSIAN I asked him

 17   if he fabricated the transaction for 10000 Lubao Ave Chatsworth, CA and provided him with

 18   a copy of a contract attached hereto as Exhibit “I”. Defendant SHAHEN MARTIROSIAN

 19   plead the 5th amendment. I also asked him if he fabricated the transaction for 1437 Highland,

 20   Glendale, CA 91202, and he also plead the 5th amendment. True and correct copies of the

 21   relevant portions of Defendant SHAHEN MARTIROSIAN ‘s deposition are attached hereto

 22   as Exhibit “J”.

 23          9.         The motion needs to be heard on an expedited basis as the foreclosure sale is

 24   set for December 28, 2016. A copy of the notice of trustee's sale is attached hereto as Exhibit

 25   “K”

 26          10.        A true and correct copy of the MLS listing showing that the property at issue

 27   has been listed for $1,895,000 million is attached hereto as Exhibit “L”

 28          11.        In response to the Notice of Deposition and Request for production of


                                                                                                     21
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  1   documents associated with this matter, SHAHEN MARTIROSIAN objected to producing any

  2   documents based on the Fifth Amendment. A true and correct copy is attached hereto as

  3   Exhibit "M".

  4          12.      The Deposition of SHAHEN MARTIROSIAN was taken December 20, 2016,

  5   the pages to the deposition transcript referenced in this motion are attached hereto as Exhibit

  6   “N”.

  7          13.      A true and correct copy of the Deed transferring the property from SHAHEN

  8   MARTIROSIAN to VIRGINIA MARTIROSIAN for zero consideration is attached hereto as

  9   Exhibit “O”

 10

 11          I declare under penalty of perjury under the laws of the United States of America that

 12   the foregoing is true and correct.

 13

 14          Executed this 22th day of December, 2016 in Westlake Village, California.

 15
                                                          _/s/Alana Anaya________________
 16                                                       ALANA ANAYA
 17

 18

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                             DECLARATION OF VAZGEN KHACHATRYAN
  1
               I, VAZGEN KHACHATRYAN, do declare and state as follows:
  2
      1.       I am over the age of 18 years old and I am the Plaintiff in this action. I have personal
  3
      knowledge of the facts stated herein, if called upon, I could and would testify competently
  4
      thereto.
  5
      2. On or about June 1, 2014, Defendants CPI REAL ESTATE GROUP, INC., doing
  6
      business as REALTY EXECUTIVES PREMIERE ESCROW DIVISION through its
  7
      owner/agent/officer SHAHEN MATIROSIAN approached me to provide real estate services
  8
      to me.
  9
      3.   In June 2014, SHAHEN MATIROSIAN represented to me that he is a professional real
 10
      estate broker and owner of Realty Executive Premiere. SHAHEN MATIROSIAN further
 11
      represented to me that he had a property in Chatsworth, California that he could facilitate for
 12
      me to purchase for $350,000.00. In further of the representation, SHAHEN MATIROSIAN,
 13
      presented me with a purchase contract for 10000 Lubao Avenue, Chatsworth, California and
 14
      requested that I provide REALTY EXECUTIVES PREMIERE ESCROW division his
 15
      purchase monies to be deposited into SHAHEN MATIROSIAN's escrow account for the
 16
      exclusive purpose of purchasing the property.
 17
      4. In October 2014 and November 2014, I provided checks and wired funds in the total sum
 18
      of $370,500.00 payable to the order of Realty Executives Premiere and delivered to SHAHEN
 19
      MATIROSIAN. At the time, SHAHEN MATIROSIAN fully convinced me by making
 20
      intentional false representations that Realty Executives Premiere Escrow Division was a
 21
      legitimate escrow owned by MATIROSIAN to assist facilitate Plaintiff's purchase of the
 22
      Chatsworth property. True and correct copies of the receipts for the deposit are attached
 23
      hereto as Exhibit “A”.
 24
      5. Fully believing that there was in fact a real estate purchase transaction pending, Plaintiff
 25
      signed the purchase agreement for the 10000 Lubao Avenue property and gave his
 26
      $370,000.00 for the purchase of Lubao to MATIROSIAN to place in escrow and a deposit to
 27
      purchase another real property commonly described as 1437 Highland, Glendale, CA 91202.
 28


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                  PLAINTIFF’S EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
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  1   At all times herein, there were never any real transactions occurring.             It was all a

  2   preconceived scam by MATIROSIAN to steal Plaintiff's money. A copy of the falsified

  3   purchase contract prepared by SHAHEN MATIROSIAN is attached to the Declaration of

  4   Alana Anaya as Exhibit “I”

  5   6. Defendant CPI and Defendant SHAHEN MARTIROSIAN falsely represented that the

  6   properties described herein were properties that Defendants was underway in facilitating the

  7   purchase of for me as my agent. Instead, said Defendants were only attempting to lure money

  8   from me under false pretenses and with false representations so that Defendants could use the

  9   money from Plaintiff for their personal economic gain

 10   7. After months of false excuses and delays presented to Plaintiff by Defendant SHAHEN

 11   MARTIROSIAN in order to delay Plaintiff's exercise of his legal remedies including the

 12   filing of a police report, I finally discovered that there were no pending property purchases at

 13   all and it was all a scam by SHAHEN MATIROSIAN to take mu money. Defendants took all

 14   of my funds designated for specific purchases, deposited them into various Bank of America

 15   accounts intended for real estate transactions and business and thereafter absconded with or

 16   converting Plaintiff’s funds in the sum of $370,500.00 for SHAHEN MATIROSIAN's

 17   personal usage.

 18   8. While $100,000.00 has been returned to me. The Defendant has wholly refused to return

 19   the remaining $250,500.00.

 20   9. After I took legal action in order to obtain the return of my money, Defendant SHAHEN

 21   MATIROSIAN met with me several times and admitted that he stole $350,000.00 of my

 22   money and that the house was sold in order to protect it from creditors.

 23   ///

 24   ///

 25   ///

 26   ///

 27   ///

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                                                                                                     24
                 PLAINTIFF’S EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
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  1   10. Defendant City National Finance contacted me directly at 11:00 p.m. on December 13,

  2   2016, urging me to accept less than full payment of the funds owed to me and made false

  3   representations of the status of escrow. This defendant/lender's involvement in this case in

  4   this manner makes the totality of this fraudulent scheme very apparent and suspicious to me.

  5

  6          I declare under penalty of perjury under the laws of the United States of America that

  7   the foregoing is true and correct.

  8

  9          Executed this 22th day of December, 2016 in Westlake Village, California.

 10
                                                          _/s/Vazgen Khachatryan__________
 11                                                       VAZGEN KHACHATRYAN
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                 PLAINTIFF’S EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2629
Townsgate Road, Suite 140, Westlake Village, CA 91361
A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION FOR A
TEMPORARY RESTRAINING ORDER WITH SUPPORTING DECLARATIONS will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
12/22/2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Alana B Anaya       alana@anayalawgroup.com, alana.anaya@sbcglobal.net
       Amy L Goldman (TR)          gabriela.garcia@lewisbrisbois.com, AGoldman@iq7technology.com
       Jilbert Tahmazian      jilbert@jilbertlaw.com, aram@jilbertlaw.com
       United States Trustee (SV)       ustpregion16.wh.ecf@usdoj.gov
       Benjamin A Yrungaray         attorney@denovofirm.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 10/28/2016, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _12/22/16_____, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Hon. Martin R. Barash
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 342 / Courtroom 303
Woodland Hills, CA 91367
                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 12/22/2016                                 Jonathan Malek                                      /s/Jonathan Malek
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
